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1. cm./Dlswmv. cone
TNW

2. PERSDN REPRESENTED
H€nson, Dcmisha

 

 

VOUCHER NUMBER

 

3. MAG. DKT.¢'[)EF. NUMBER 4. DlST. DKTJDEF. NUMB

2:05-020] 46-00] -

5. APPEALS DKT.IDEF. NUMBER

6. OTHER DKT. NUMBER

 

7. lN CASE.'MA'ITER OF (Cue Name)

B. PAYMENT CATECORY

 

 

9. TYPE PERSON REPRESENTED

 

i{|. REPRESENTATION TYPE 47 ’

 

See lnstrnrtions)
U.S. v. Henson Felony Adult Defendant Criminal Case
.OFFENSE(S) CH ARGED (Cite U. S. Code. Tit|e & Sectiun) ll`more than one olfense, list {up lo tive) major ol'Ense: charged, according to severity orofrens¢. 7 ' ‘{"

lli) 21 84iA= CD. F -- CONTROLLED SUBSTANCE- SELL, DISTRIBU TE, OR DISPENSE

 

lz. AT\"ORN EY'S NAME [Fis`ai Nlme. M.l.. Ltt$t Nlme, including any sumg)

AND MA[LING ADDRESS

13. COURT ORDER

ix 0 Appointing€onnse| m
Gai'lgllii, JUni § F Etlhl For Federal Dei'ender §
40 S Main St_ l’ ths For Pane|Artorney
S\.li[€, 1540 l'rior Altorney's Name:

Memphis TN 38103

(901) 544-9339

Telephone Number:

 

 

C Co-Couns¢i ' ij
R Suhs F or Retainell. Attumey
Y Slandhy Counsel

 

Appointm¢nl Dale:

OR/(l?/') t'\l"l€

      
   

_ 4
- ding Judlcill l * leer or By Order of the Conrt

g Beca\lse the above-named person represenletl has testified under oath or has
otherwise satls lied this court that he or she (l) ls financially unable to employ emnsel and
(1) does not wish to waive counsel. and bee

14. NAME AND MAILING ADDRESS OF LAW FlR.M (only provide per inltructions) or

rests ot`justice so require. the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date ofOrder Nunc Prn Tunc Date
Repayment or partial repayment ordered from tile person represde for this service at
rim of appointment Ci YES |:l NO
TOTAL MATH.FI'ECH MAT}UTECH
cATEGoRIEs mth itemization arm-vices wish dam) CE§’|‘§IRESD AMoUNT AnJusTEo Ao.rus'r En APR§W§`$AL
CLAIMED HOURS AMOUNT

15. a. Arraignment and/ar Plea

b. Baii and Detention Hearings

c. Motion Hearings
l .
n d. Trlal
C e. Sentencing Hearings
3 f. Revucation Hearings
z g. Appeals Court

h. Other (Speeify on additional sheets)

[Rate per hour = S ) TOTALS:
16. a. interviews and Cnni'erences
1‘:0 b. Obtaining and reviewing records
0 c. Legal research and brief writing
; d. Travel time
3 e. investigative and Other work (sp¢¢iry nn additional mem
r
f (Rate per hour = 5 ) TOTALS:
i'.'. Tl‘m'el Expet‘t$es (iodging, parking, meals, mileage, ete.)
13. Othet’ E)ipen§e$ (other than expertl rranscripts, etc.]
~;`:“` rt "
‘» \1? ~s¢"
19.CERTIF|CA110N OF ATTORNEWPAYEE FOR THE PERIOD 0 F SERV|CE 20. APPolNTMEN'r TERMINA'rloN nATE 21. CASE DISPO SITION
ll~' OTHER TH.»\N CASE COMFLET[ON
FROM TO
22. C LAIM STATUS ij Final Payment l_:] interim Payment Number ___ !:I Supplemental Plyment
Ha\re you previouliy applied to the court fm compensation and.'or remlmburlement for this case? ij YES g NO ll'yet, were you paid'.' l:i YES I:i NO

Dther than from the court, have you. or toynnr knowledge has anyone else, received payment lcompensation or anything or value] from any other source in connection wills this

representation'.' \:\ YES ij N[) ll'yes, give details on additional sheets.
l swear or affirm the truth or correctness of the above statements.

Signnture ol'At'torney:

 

 

23. lN CDURT COMP.

24. OUT OF COURT COMP.

25. TRAVEL EXPENSES

 

26. OTHER EXPENSES

27. TOTAL AMT. APFR.| CERT

 

28. SlGNATURE OF THE FRESiDlNG JUI)]CIAL OFF|CER

DATE

28.\. JUDGE l MAG. JUDG!-`. CODE

 

29. lN COURT COMP. 30. OUT OF COURT COMP.

 

 

31. TR.AVEL E`.XPENSES

32. OTHER EXFENSES

JJ. T[)TA L AMT. A PPROVED

 

34. SIGNATURE OF CH}EFJUDGE. C[)URT OF APP EALS (OR DELEGATE) l'aymenl

t approved' m excess ofthe statutory threshold amount.

DATE

 

J4a. JUDGE CODE

 

 

 

This document entered on the docket shea coWhanc-=e
with Fiu|e 55 end/or 32(b) FFlCrP on 8 gm 5

   

UNITED sTATE ISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CR-20146 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

J uni S. Ganguli

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Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

